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                          IN THE UNITED STATES DISTRICT COURT

              FOR THE SOUTHERN DISTRICT OF OHIO, WESTERN DIVISION
 COMPUTEREASE SOFTWARE, INC. 6460
 Harrison Avenue, Suite #200
 Cincinnati, Ohio 45211                                        Civil No. 1:06CV247

          Plaintiff,                                             Judge Beckwith

 vs.

 HEMISPHERE CORPORATION                               HEMISPHERE CORPORATION’S
 c/o Scott Lyon, Registered Agent                     ANSWER TO COMPLAINT, AND
 2815 East 3300 South                                      COUNTERCLAIM
 Salt Lake City, Utah 84109

       Defendant.
 ____________________________________

 HEMISPHERE CORPORATION
 c/o Scott Lyon, Registered Agent
 2815 East 3300 South
 Salt Lake City, Utah 84109

          Counterclaim Plaintiff,

 vs.

 COMPUTEREASE SOFTWARE, INC. 6460
 Harrison Avenue, Suite #200
 Cincinnati, Ohio 45211

          Counterclaim Defendant.


                 Hemisphere Corporation now appears and responds to the allegations in the

Complaint and asserts its defenses. In response to the specific allegations in the Complaint,

Hemisphere Corporation admits, denies and alleges as follows:
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               1.      Admitted.

               2.      The identity of Hemisphere Corporation is admitted. Denied that

Hemisphere Corporation is no longer under a dealer contract with ComputerEase.

               3.      Admitted.

               4.      Admitted.

               5.      Admitted.

               6.      Denied for lack of knowledge or information.

               7.      Admitted.

               8.      Admitted that the Dealer Agreement was executed, , however the

document speaks for itself and is not limited to the selective quotations chosen by ComputerEase

for the balance of allegations in paragraph 8. Denied that the Dealer Agreement applicable

during calendar year 2005 was signed by Mr. Lyon on behalf of Hemisphere Corporation on

December 31, 2004. It was back dated to December 31, 2004, but not actually executed until

mid-April 2005. This is the reason that the signature of Bob Mattlin on behalf of ComputerEase

Software, is not dated until April 29, 2005.

               9.        Denied. ComputerEase’s notice was not sent until December 1, 2005,

and it was not sent by certified mail as required by the NOTICE paragraph on page 8 of the

Dealer Agreement. Furthermore, the notification letter gave Hemisphere Corporation only until

“close of business on December 16, 2005” to execute and return the original. (Copies of the

notice letter and its mailing envelope are attached at Exhibit A.)

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               10.     Admitted that the new Dealer Agreement offered for commencement on

January 1, 2006, contained a new fixed price mechanism. However, denied that Hemisphere

Corporation objected to that fixed price arrangement or that all ComputerEase Dealers agreed to

the new pricing arrangement.

               11.     Denied for lack of knowledge or information. In addition, of the fifteen

other ComputerEase Dealers, Hemisphere Corporation was the only one denied the opportunity

to negotiate about the continuing scope of territory and other adjustments under the new fixed

price arrangement.

               12.     The first sentence of paragraph 12 is admitted. Admitted that a letter was

sent on December 5, 2005, by ComputerEase insisting that Hemisphere Corporation become

subject to the new fixed price arrangement. However, Hemisphere Corporation was singled out

and treated unfairly in that other Dealers were able to negotiate over the continued scope of their

territories and were given confirmation about conversion to the fixed price arrangement in

September and October 2005 in time to make appropriate adjustments in sales staff and other

operational considerations. Further, ComputerEase sent its December 5, 2005 letter knowing

that Hemisphere Corporation’s principal, Scott Lyon, was committed to be out of the United

States on a family vacation from December 17, 2005 through the end of the year, thus giving him

inadequate time to accommodate Hemisphere Corporation’s staffing and continued operations to

the new fixed price arrangement.



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               13.    Denied. Hemisphere Corporation simply wanted some dialogue with

ComputerEase Software about terms and conditions in the new Dealer Agreement. Hemisphere

Corporation also wanted the same opportunity as other Dealers had received to prepare for the

fixed price arrangement by hiring new employees, reducing territory, and making other

operational changes. Further, Hemisphere Corporation was not given until December 31, 2005

to execute the new Dealer Agreement, but was rather foreshortened to December 16, 2005, as

explained in response to paragraph 9, above.

               14.    Admitted that Hemisphere Corporation signed the new Dealer Agreement

on February 17, 2006 and also submitted its fixed price payments for January and February 2006

on that day. The new Dealer Agreement was post-dated back to December 31, 2005, as had been

done for the prior Dealer Agreement, as explained in response to paragraph 8, above.

               15.    Admitted that ComputerEase did not execute the new Dealer Agreement

signed by Hemisphere Corporation on February 17, 2006, but denied that ComputerEase

Software rejected the contract renewal. In all ways, both prior to February 17, 2006 and up to

April 27, 2006 when it filed the above-styled action, ComputerEase Software interacted with

Hemisphere Corporation as a continuing Dealer and made no objection or challenge to

Hemisphere Corporation’s continued operation as a ComputerEase Dealer.

               16.    Admitted that Hemisphere Corporation mailed the checks for the fixed

price charges during January and February 2006, as alleged, and admitted that ComputerEase

has recently returned those checks. Otherwise, until the filing of this action on April 27, 2006

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and the return of the fixed price checks, ComputerEase Software conducted business as usual,

processed new orders from customers of Hemisphere Corporation, and communicated in a

manner consistent with business-as-usual.

               17.     Admitted.

               18.     The first sentence of paragraph 18 is admitted, as far as it goes. However,

both under the Dealer Agreement and related commitments by ComputerEase, a Dealer such as

Hemisphere Corporation has continuing rights to support its customers and service them with

sales of upgrades, add-ons, and new products. The second sentence of paragraph 18 is denied.

               19.     With regard to the allegations of paragraph 19, the Dealer Agreement

speaks for itself. Because the Dealer Agreement effective during calendar year 2005 was not

effectively terminated by ComputerEase, the automatic continuation terms under the paragraph

titled CONTRACT on page 1 goes into effect and Hemisphere Corporation is entitled to

continue operating under the 2005 Dealer Agreement.

               20.     Admitted that portions of the Dealer Agreement read as quoted selectively

by ComputerEase.

               21.     Denied. ComputerEase continued to provide Hemisphere Corporation

with new product and technical support because Hemisphere Corporation was continuing on as a

licensed Dealer under the Dealer Agreement effective for the calendar year 2005. The remaining

allegations in paragraph 21 are denied as revisionist and self-serving.



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               22.    Admitted that ComputerEase support of Hemisphere Corporation’s End

Users after December 31, 2005 is occurring under the Dealer Agreement effective for the

calendar year 2005 which has continued in effect according to its terms.

               23.    Denied. Hemisphere Corporation tendered the fixed price payments to

ComputerEase, but ComputerEase subsequently rejected those payments and properly reverted

to pricing under the Dealer Agreement effective for the calendar year 2005.

               24.    Denied. Hemisphere Corporation has paid the full amount of revised

charges referenced in paragraph 24, but has done so under protest for the inappropriate

withholding of discounts and special pricing under the Dealer Agreement effective for calendar

year 2005.

               25.    (a)     Denied.

                      (1)     Denied.

                      (2)     Denied.

                      (3)     Denied.

               26.    (a)     Denied.

                      (b)     Denied.

               27.    Denied.

                             FIRST AFFIRMATIVE DEFENSE

               The Complaint fails to state a cause of action upon which relief can be granted.



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                            SECOND AFFIRMATIVE DEFENSE

               The Plaintiff never properly terminated the Dealer Agreement effective during the

calendar year 2005, and therefore by its terms, that Dealer Agreement continues for an additional

year without change.

                             THIRD AFFIRMATIVE DEFENSE

               Because of its delay, non-communication, and continuation of the ordinary scope

and course of dealing, all of which Hemisphere Corporation reasonably relied on, ComputerEase

waived and should be estopped from challenging continuation of the Dealer Agreement effective

during calendar year 2005 or implementation of the new Dealer Agreement effective for calendar

years 2006 and 2007.




                            FOURTH AFFIRMATIVE DEFENSE

               ComputerEase Software initiated this action in retaliation for the unwillingness of

Hemisphere Management, a Utah limited liability company which is a related entity to

Hemisphere Corporation, to modify or relinquish its rights as a ComputerEase Software

Distributor. As such, ComputerEase has unclean hands and is not entitled to the equitable relief

which it seeks in its Complaint.

                              FIFTH AFFIRMATIVE DEFENSE



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               The short delay from December 31, 2005 to February 17, 2006 when the principal

of Hemisphere Corporation, Scott Lyon, executed the new Dealer Agreement effective for the

calendar years 2006 and 2007, was not a material delay or a breach of any significant covenant

or condition of the new Dealer Agreement. As such, the new Dealer Agreement should be

recognized as being the terms of contract which are in force and effect between ComputerEase

and Hemisphere Corporation.

                                      COUNTERCLAIM

               Hemisphere Corporation now counterclaims against ComputerEase Software. For

its Counterclaim, Hemisphere Corporation alleges and prays as follows:

               1.     The parties are as alleged and admitted in the Complaint and the Answer.

               2.     Hemisphere Corporation has a significant present and continuing

economic interest in the revenues and benefits of its dealership of ComputerEase Software

products.

               3.     ComputerEase has suffered no operational detriment or economic injury

as a result of the circumstances relating to either continuation of the Dealer Agreement effective

for calendar year 2005 or entry into the new Dealer Agreement effective for the years 2006 and

2007.

               4.     Through its duplicitous and unwarranted actions in attempting to

terminate Hemisphere Corporation’s dealership, ComputerEase has breached the Dealer



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Agreement and caused Hemisphere Corporation serious economic damage of at least

$1,500,000, or such greater amount as shall be proven at trial.

               5.      The manner and circumstances of ComputerEase’s efforts to terminate the

dealership of Hemisphere Corporation constitute bad faith, and as such are a breach of the

covenant of good faith and fair dealing implied in all contracts.

               6.      ComputerEase Software’s efforts to terminate the dealership of

Hemisphere Corporation are being conducted vindictively and for the purpose of obtaining

collateral leverage in related negotiations between ComputerEase and Hemisphere Management,

a sister entity of Hemisphere Corporation.

               7.      This conduct by ComputerEase is wrongful in its own right, and it is being

pursued for the improper purpose of obtaining unwarranted advantage in the collateral but

completely independent distributorship of Hemisphere Management.

               8.      Since the filing of its Complaint on April 27, 2006 which declared the

dealership of Hemisphere Corporation terminated, Hemisphere Corporation has been diligently

pursuing sale of its customer base. This effort to sell is being done pursuant to terms of the

Dealer Agreement effective for the calendar year 2005. (See terms on pages 6 and 7.)

               9.      The effort to sell is being done by Hemisphere Corporation in protest, but

also out of a practical realization that the vindictive and retaliatory conduct of ComputerEase

Software has and will make it impossible for Hemisphere Corporation to operate effectively as a

Dealer, regardless of the outcome of this litigation.

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                 10.    Since Hemisphere Corporation’s commencement of efforts to sell its

customer base, ComputerEase has interfered and frustrated that process by demanding the right

to audit Hemisphere Corporation’s books and records, demanding or prohibiting certain terms

and conditions of agreement between Hemisphere Corporation and proposed purchasers, and by

interfering and disrupting normal communications between Hemisphere Corporation and the

other ComputerEase Dealers who are the logical purchasers of Hemisphere Corporation’s

customer base.

                 11.    Under the Dealer Agreement, ComputerEase has only the right to approve

of the buyer of the Hemisphere Corporation customer base. ComputerEase does not have the

right to dictate terms, interfere with the transaction, or control price and administration of the

sale.

                                     PRAYER FOR RELIEF

                 Based upon the foregoing answers and defenses to the Complaint, together with

the allegations and claims in the Counterclaim, Hemisphere Corporation prays for relief as

follows:

                 28.    That ComputerEase Software take nothing by way of its Complaint, with

judgment of no cause of action to be entered against it on its equitable and legal claims;

                 29.    Under the Counterclaim for breach of the Dealer Agreement and for

breach of the implied covenant of good faith and fair dealing, for damages or judgment in the



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amount of $1,500,000 or such greater amount as is proven at trial in favor of Hemisphere

Corporation and against ComputerEase Software;

              30.     Under the Counterclaim for wrongful conduct and improper purpose, for

punitive damages in the amount of $1,500,000 or such other amount as the Court deems

appropriate and necessary to punish ComputerEase Software for its malicious and retaliatory

conduct and as a fair warning to ComputerEase Software against treating other Dealers in a

similar manner;




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               31.     Under the Dealer Agreement and equitable allegations of the

Counterclaim, for judgment to be entered in favor of Hemisphere Corporation determining that

the only interest ComputerEase has in Hemisphere Corporation’s sale of its customer base is to

approve the buyer, which is must do based upon reasonable and objective standards, and for

injunctive relief making ComputerEase Software cease and desist from continuing to interfere in

any way with Hemisphere Corporation’s marketing and sale of its customer base; and

               32.     For such other and further relief as the Court deems just and equitable

under the circumstances, including recovery of all of its costs, expenses, and reasonable

attorney’s fees, whether justified by contract, by statute, or as an element of direct or

consequential damages or as a measure of punitive damages.


                                                       /s/ John C. Scott________________
                                                       JOHN C. SCOTT, #0029518
                                                       Attorney for Defendants
                                                       FAULKNER & TEPE, LLP
                                                       2200 Fourth & Vine Tower
                                                       Cincinnati, Ohio 45202
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                                CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing with the Clerk of Courts using the

CM/ECF system which will send notification of such filing to Richard G. Meyer and Angela M.

Gates, 207 Thomas More Parkway, Crestview Hills, KY 41017, this 22nd day of May, 2006.


                                             /s/ John C. Scott_____________________
                                             JOHN C. SCOTT




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